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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

  In re:
  ANTONIO CORREIA,                                Ch. 13
    Debtor                                        18-13353-FJB

  NATHANIEL VASALLO,                              Adversary Proceeding
    Plaintiff,                                    19-01025-FJB
  v.
  ANTONIO CORREIA, DORA AJA,
  GREENVILLE REALTY, LLC and CAROLYN
  A. BANKOWSKI,
     Defendants


                                               Order

MATTER:
#59: Motion filed by Plaintiff Nathaniel Vasallo to Extend Time to Comply [Re: 21 Pre-Trial Order]

Granted as follows: the time for completion of discovery is extended to November 30, 2019; the
time for filing dispositive motions is extended to December 23, 2019; and the time for filing a joint
pretrial memorandum is extended to December 30, 2019.

                                                  By the Court,




                                                  Frank J. Bailey
                                                  United States Bankruptcy Judge

                                                  Dated: 10/15/2019
